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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 VIRGINIA ELIZONDO,                               §
              Plaintiff,                          §
                                                  §
 v.                                               §             Civil Action No. 4:21-cv-01997
                                                  §
 SPRING BRANCH INDEPENDENT                        §
 SCHOOL DISTRICT, et al.,                         §
            Defendants.                           §

              PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR LEAVE
                     TO EXTEND TIME FOR RESPONSE TO DKT. 122

         Plaintiff Virginia Elizondo responds to Defendants’ Motion for Leave to Extend Time for

Response to Dkt. 122 (“motion”) and would respectfully show the Court the following:

         1.      Defendants’ stated reasons for requesting that the Court extend the time in which

they are to file “a single member district plan providing for the election of school board trustees”

have morphed and changed over the past three days.

         2.      Before receipt of today’s Motion, Defendants’ counsel had not invoked their

conflicting professional obligations as a basis for relief. Motion, ¶8. Had they done so, as a matter

of professional courtesy, Plaintiff’s counsel would not have objected to their request. Now that

they have done so, Plaintiff withdraws her opposition to Defendants’ request.

         3.      However, the various other excuses Defendants earlier made for refusing to comply

with the Court’s directive do not warrant the relief requested. See the colloquy of counsel in

Exhibits 1, 2, 3 and 4, attached.

         As a matter of professional courtesy, based on Defendants’ counsel’s representations about

their conflicting trial obligations, Plaintiff does not oppose Defendants’ request.
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Respectfully submitted,

/s/ Barry Abrams
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COUNSEL FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

       I certify that on May 1, 2025, a true and correct copy of Plaintiff’s Response to Defendants’
Motion for Leave to Extend Time for Response to Dkt. 122 was served on Defendants’ counsel via
the Court’s ECF system.

                                                     /s/ Barry Abrams_________________
                                                     Barry Abrams
